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                           U N ITED STATES D ISTRICT COU RT
                           SO UTH ERN DISTRICT O F FLORIDA
                               CASE N 0 .97-Cr-06002-JEM
    U NITED STATES OF AM ERICA,                             FILED BY                   D.C.

          Plaintiff,                                              JtJ8 2i2219
                                                                   ANGELA E.NOBLE
    VS.                                                           cLERKLI.& DlsT:c'E
                                                                  s.D.OFFtA.-MIAMI
    DAW D ANTH ON Y RO STAN ,JR.,
          Defendant.
                                      /

                D EFEN D A N T'S PR O SE R EPLY TO TH E G OV EN R M EN T'S
                       -


                     RESPO N SE TO H IS M O TION TO IM PO SE A
                  R E DU CED SEN TEN CE U N DE R TH E FIR ST STE P A CT

          D avid Anthony Rostan,Jr.,pro se,respectfully replies to the governm ent's

    response to his am ended pro se m otion to im pose a reduced sentence pursuant to

    Section 404 ofthe FirstStep Actof2018,and states:

                                     BA CK G R OU N D

          1.     On M ay 9, 1997,M r.Rostan w as charged by Superseding Indictm ent

    with Ilve counts including Count 3,which charged that M r.Rostan ''did knowingly

    and intentionally possess w ith intent to distribute a Schedule 11 narcotic controlled
    substance,that is,a m ixture and substance containing cocaine base,that is crack

    cocaine,in violation of21 U.S.C.j841(a)(1).'' (DE24).
          2.     On N ovem ber 24, 1999, the governm ent fled a previous conviction

    information under21U.S.C.j851,advising thatupon conviction M r.Rostan who
    had tw o prior felony drug convictions w ottld be facing a m andatory life sentence.

    (DE175).
          3.     On Decem ber 9,1999,M r.Rostan was convicted after a jury trialon
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    the the ârst four counts of the indictm ent. The jury did not ând any specific

    amolm tofcocaine basewasinvolved. (DE190).
          4.    ln the PSI, the probation ofâcer determ ined that M r. Rostan'base

    offense levelunder j 2D 1.1 was 36,based on the combined Guideline am ounts for
    the crack cocaine in Count Three and the cocaine hydrochloride charged in Count

    Four. Additionally,the G uideline level was enhanced two levels for possession of

    w eapons as charged in Count Five. The resulting G uideline levelw as a level 38,

    resulting in a Guideline range of324-405 months imprisonment. (PSI !$ 34,76).
    H ow ever, because of the 851 enhancem ent the term of im prisonm ent w as

    m andatory life. (PSI ! 75). And notably,since M r.Rostan'sentencing occutred
    prior to the Suprem e Court's decision in United States u. Booker, 543 U .S, 220

    (January 12,2005),theGuidelinerange atthattim ewasm andatory.
          5.    A t the M arch 29,2000 sentencing,the Courtsentenced M r.Rostan to

    life imprisonm ent.(DE:221).
          6.    M r.Rostan appealed his conviction and sentence and it w as ao rm ed.

    Since that tim e,M r.Rostan has âled num erous m otions with the Court. H owever.

    the one at issue today is the Request for a Reduction in Sentence Pursuant to

    Section 404 oftheFirstStepAct(2018)Sled on M arch 13,2019.(DE362).
           7.   O n Decem ber 21,2018,Congress enacted thc Fair Step Act of 2018.

    Section 404 ofthe First Step A ctindependently authorizes a districtcourtto im pose

    a reduced sentence for crack-cocaine convictions w here the statutory penalty

    provisions ofthe Fair Sentencing Actw ould have applied had thatActbeen in efect

    atthe tim e ofthe originalsentencing.

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          8.     On M arch 27,2019,the governm entresponded - arguing thatthe Fair

    Step Acthad noimpact'
                        on M r.Rostan'case. m E363).
                                          A R G UM E NT

          For the reasons set forth below ,M r.Rostan is eligible under Section 404 for

    the Court to im pose a reduced sentence, and the Court should indeed im pose a

    reduced sentence under 21 U.S.C.j 841(b)(1)(C).The governm ent's arguments in

    opposition arem eritlessand should berejected.
       1. The governm ent's position is inconaistent w ith the pli n language of Section
          404.

          section 404(b)providesthatfordefendantspreviously sentenced,
          (a)courtthatimposed a sentence for a covered offense m ay,on m otion
          ofthe defendant ...,im pose a reduced sentence as ifSections 2 and 3 of
          the Fair Sentencing Actof2010 (Public Law 111-220;124 Stat.2372)
          w ere in effectatthe tim e the covered offense w as com m itted.

    First Step Act j 404(b).Section 404 desnes ''covered offense''as <<a violation ofa
    Federalcrim inalstatute,the statutory penalties for w hich w ere m odified by section

    2 or3 ofthe FairSentencingActof2010 (PublicLaw 111-2201124 Stat.2372),that
    wascommitted beforeAugust3,2010.''FirstStep Actj404(a).Thatis,j 404 refers
    to the defendant': t'offense,''and asks w hether it is one for which <'the statutol'y

    penalties...weremodised'';itdoesnotreferto'Yelevantconduct.''FirstStepActj
    404(a).Thus,asone courthasexplained,
          Iulndertheplain languageoftheAct,whetheran ofenseisa''covered
          offense''is determ ined by exam ining the statute that the defendant
          violated.SeeFirstStep Actj 404(a).lfthatstatute isoneforwhich the
          statutory penalties w ere m odiSed by section 2 or 3 of the Fair
          Sentencing Act,itis a ''covered offense.''



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    United States v.Davli 2019 W L 1054554,at*3 (W .D.N.Y.Mar.6,2019)(No.1:07-

    cr-245).
          Further,an 'dofense''is a specifc term applicable to a concept with specihc

    legal consequences that are distinct from the legal consequences sowing from

    ''relevant conduct'' lt is a w ell-settled principle of statutory construction that
                      .




    ''Iwlhen Congress enacts a statute using a phrase that has a settled judicial
    interpretation,it is presum ed to be aware ofthe priorinterpretation.''In re Fori
    574 F.3d 1279,1283 (10th Cil*.2009)(citing Com m k 7.Keystone Consol.Indus.,f/a,
    508 U .s, 152, 159 (19939. Am ong other dilerences between the defendant's
    ''offense''and his ''relevantconduct,''thelatterisnotsubjectto ''statutory penalties''
    as referenced in the First Step Act.Relevantconduct is a consideration under the

    Sentencing Guidelines thatis used to determ ine the gG deline range in a given case

    by looking atconduct beyond the elem ents in the offense ofconviction.SeeU .S.S.G .

    j 1B1.3(a).Relevant conduct doesnot affect, and certainly cannot increase,the
    statutory penalties attached to the offense ofconviction.
          Accordingly,had the Fair Sentencing Act been in effect at the tim e of M r.

    Rostan's offense of conviction,he would have been subject to the penalties in 9
    841(b)(1)(C)because he waschazged with and convicted ofpossessing with intentto
    distribute an unspecified quantity of crack cocaine,and because of his prior drug.

    conviction would be facing a statutory m axim um of thirty years. lt is a well-

    established principle thatttwhen (a)statute's languageisplain,the sole function of
    th: courts ...is to enforce itaccording to its term s.''Sebelius 1.
                                                                      7 Cloen 569 U .S.369,

    381 (2013) (quoting H artibrd Underwriters Ins.Co.gtUmbn Planters Bank,N Z.,

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    530 U.S.1,6 (2000). M though Congress could have directed districtcourts to do
    w hat the governm ent suggests,the legislature did not;instead,in the First Step

    Act,Congress authorized districtcourts to im pose a reduced sentence ''as ifsections

    2 and 8 ofthe FairSentencing A ctof2010 ...were in effectatthe tim e the covered

    OffenseW&SCom mittod.''FirstSte; ACtb404(b).
          The Courtshould abide by Congress's determ ination,and should notconsider

    w hatthe governm entsays it''could havo charged''had the Fair Sentencing Actbeen

    in effectw hen M r.Rostan com m itted his offense.See United States M Pierre,2019

    W L 1495123,at *5 (D.R.I.Apr.5,2019) (No.1:07-cr-003) (holding court 'sshould
    refrain from delving into the paz-ticulars of the record to determ ine ...how those

    facts w ould have hypothetically affected the charges brought againstthe defendant

    undel-the new statutory regim es.
       2. Tbe governm ent'sposition w ould resultin a constitutionalviolation.

          The Suprem e Court has long held that ''facts that expose a defendant to a

    punishm ent greater than that otherwise legally prescribed (are) by deânition
    felem ents'ofa separate legaloffensez''and Tfm ustbe subm itted toa jury,and proved
    beyond a reasonable doubt.''Apprendi u N ew Jersey 530 U .S.466,483 n.10,490

    (2000).''The essentialpointis thatthe aggravating fact produced a higher range,
    which,in turn,conclusively indicates that the fact is an elem ent of a distinct and

    agr avated crime.Itm ust,therefore,be subm itted to the juz.y and found beyond a
    reasonable doubt.'' Alleyne g.United States,570 U .S.99,115-16 (2013). Seealso
    Burrage z.United Slales,571 U.S.204,210 & n.3 (2014)(applying the rule to facts
    thatincrease the penalty range for an offense under 21U .S.C.! 841(a)(1)). To set

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    the defendant's statutory range under section 4O4(b) based on an uncharged

    quaptity found by the judge by a preponderance ofthe evidence recited in the PSR
    w ould violate the Sixth Am endm ent.

       3. The governm ent's various contentions that Apprendiand its progeny lshould

          notappl/'are unavalllog.
          First,the originalsentence was not Glaw ftzlat the tim e it was im posed.''Cf.

    Gov.Resp.at8. The courts'formerpractice ofusing unchargedjudge-found factsto
    determ ine statutory ranges was always unconstitutional. lt did notjust becom e
    unconstitutional when those cases w ere decided. W hen the Suprem e Court

    announces a new rule ofeonstitutionallaw ,w hether the Court declares thatrule to

    apply retroactively or not,it does not 'fimplyp that the right at issue was notin
    existence prior to the date the 'new rule'was announcedo''D anforth z,M innesota,

    552 U.S.264,271 (2008).Rather,''the source of a 'new rule'is the Constitution
    itself, not any judicial power to create new rules of law .''Ii f'Accordingly,the
    underlying right necessarily pre-exists (the Supreme Court'sl articulation of the
    new rule.''1d

          Second, the fact that Apprendi and Alleyne have been held not to be

    retroactive ''on collateralreview,'' Gov.Resp.at 8-9,is notrelevant. M r.Rostan is

    not seeking reliefI'on collateral review .'' H e is seeking zelief under Section 404 of

    the First Step Act, a new statutory rem edy that Congress expressly m ade

    retroactive.See Sac.404(b) (court may impose a reduced sentence ''as if'the Fair
    Sentencing Act ''were in efect at the tim e the covered offense wag comm itted'').
    W hile courts have held that the Apprendi rule is not retroactive d'on collateral

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    review''because it is procedural rather than substantive w ithin the m eaning of

    Teague, that distinction has no bearing on the t'relief sought''undez Section 404.
         %              .


    Danforth,552 U .S.at 271.lnstead,the Apprendirule applies because 'tthe source of

    (the ruld is the Constitution itselfy''and ''the underlying right necessarily pre-
    existled)Ithe Suprem e Court'slarticulation ofthe new rule.''Id
             Third,the governm ent's assertion that Section 404 'fdoes not give the courts

    authority to change the m annet of determ ining quantity,'' Gov. Resp. at 8,

    erroneously assum esthatcourtswere everauthorized touseunchargedjudge'found
    facts to determ ine quantity. l'Congress did not unconstitutionally com m it

    determination ofdrug quantity to a judge for a finding by a preponderance ofthe
    evidence....(Tlhat comm itm ent was m ade by the judiciary,not the legislature.''
    United States z.Bucldandb289 F.3d 558,567 (9th Cir.2002) (en banc);see also
    United States v; Cernobyl 255 F.3d 1215,1219 (10th Cir.2001) (ffsection 841(b)
    itselfis silenton the question ofw hatprocedures courts are to use in im plem enting

    its provisions,and (is)therefore (consistent with!the rule in Apprendi'b; United
    States v;Brough,243 F.3d 1078,1079 (7th Cir.2001)($<ET)he statute does notsay
    w ho m akes the findings or which party bears w hat burden of persuasion,'' but

    instead ''fleftlitto thejudiciary to sortout.'').
             The governm ent is essentially arguing that w hen Congress enacted Section

    404, wellafter Apprendi,A lleyne and Burrage were decided,it intended,without

    saying so, that courts w ould use an unconstitutional practice it had never

    sanctioned to im plem entthe new statute. But Conr ess is presum ed to legislate in

    light of constitutional requirem ents. See,gg ,R ust g.Sullivan,500 U .S.173,191
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    (1991) (''lWle assume Icongress) legislates in the light of constitutional
    limitatione.p);Edward ef DeBartolo Corp. 7. Fla. Gulf Coast Sl#g. and Const.
    Trades cbuzacz'
                  l 485 U .S.568,575 (1988)('fcongress,like tM s Court,is bound by
    and swears an oath to uphold the Constitution.The courts w illtherefore notlightly

    assum e that Congress intended to infringe constitutionally protected liberties or

    usurp power constitutionally forbidden it.'');Cannon g.University of Chicago,441
    U .S.677,699 (1979)(Itispresumed ''thatCongresswasthoroughly familiarwith ..
    .   importantprecedents from Ithe Supreme Court)and otherfederalcourt, and that
    itexpected itsenactm enttobeinterpreted in conformity with them .'').
            In a further effort to show that Congress intended courts to use the

    unconstitutionalpractice used at the originalsentencing,the governm entm isstates

    the statute,asserting that ''if the Fair Sentencing Act been J:?a esectat the tim e of

    D efendanttqsentenclàg hi: statutory range w ould have been 10 years to life due to

    a drug quantity betw een 28 and 280 gram s and his prior felony drug convictions.''

    Gov.Resp.at7-8 (emphasisadded). Even ifwerepossible to assum ethatCongress
    intended courts to follow an unconstitutionalpractice,Section 404 does not direct

    courta to im pose a reduced sentence as ifthe Fair Sentencing Actw ere ''in eeeczaf

    the tim e of the defendant:s'sentenclhg.'' Instead, Congress defined a x'covered

    offense'' as one, lh ter alia, that was ''com m itted before A ugust 3, 2010,3' and

    authol'ized courts to im pose a reduced sentence ç'as if sections 2 and 3 of the Fair

    Sentencing Act of 2010 (1 were in effect at the IJZD/ the covered offense vas
    committed''Sec.404(b), The italicized language serves an important purpose.
    W hen Congress m akes a law retroactive,it m ust specify to what event the law

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    retrospectively applies.See,e.g.,Landgraf z.USI .
                                                    F27- Products,511 U .S.244,264

    (1994).The italicized language m akes Section 404 retroactive to pastviolations --
         $              :


    com m itted before A ugust 3, 2010 -- not past sentencing proceedings. Nothing in

    Section 404 says or im plies that an unconstitutionalpractice used at the tim e the

    defendantw assentenced m ay be applied now.

             Fourth,the governm ent's assertion thatusing judge-found facts ''atthis tim e
    doesnotofend ApprendiozA lleyne as itdoes notinvolve any lhcreasein a sentence

    based on judge-found facts,''Gov.Resp.at7--8 (em phasis in originao,is obviously
    w rong. M r.Roàtan's statutory range under the Fair Sentencing Act,based on the

    elementsproved to thejury beyond a reasonable doubt,is zero to thirty years. The
    governnlent urges the Com t to increase that range to 10 years to life based on

    judge-found facts. And w hile the court can decline to grant relief in its discretion
    under Section 404(c), Gov.Resp. at 9, it cannot impose a sentence below the
    statutory m inim um or above the statutory m axim um of the Fair Sentencing A ct

    underSection 404(b),any more than itcould do soin imposing a sentence forthe
    srst tim e today. Rather, because drug quantity incz'eases the statutory range

    prescribed by the Fair Sentencing Act,it is an elem ent of a separate,aggravated

    ofense,and thusm ay notbebased on unchargedjudge-found facts.
             Likewise, the governm ent's citation to Dlllon iy unavailing. There, am ong

    other things that have nothing to do w ith Section 404 m otions,the Court said that

    ''any factsfound by ajudge ata â 3582(c)(2)procceding do notserveto increasethe
    prescribed range of punishment;instead,they affect only the judge'e exercise of
    discretion within that range.''Dlllon z. United States,560 U .S.817,828 (2010).

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    H ere, the governm ent is urging the Court to deternaine the prescribed statutory

    rangebased on judge-found facts.
         '             .


             4. The Fair Sentenclng A ct's reduced statutory range results

             ln a reduced G uldeline range for M r.R ostan.
             N ot only would the Fair Sentencing Aet's reduced penalty structure have

    applied te M r. Rostan'crack cocaine conviction had that Act been in effect at the

    tim e ofhis originalsentencing since his conviction and sentence were for a fscovered

    offensez''butindeed,the reduced statutozy m axim um w ould have dictated a reduced

    advisory G uideline range as well.
             Speciscally,ifSection 2 ofthe Fair Sentencing Actof 2010 had been in efect

    at the tim e ofM r.Rostan'originalsentencing,his '4offense ofconviction''w ould have

    fallen under21U.S.C.j841(b)(1)(C),ratherthan j841*)(1)* ).With an â851,his
    maximum statutory term ofimprisonmentunder b 841(b)(1)(C)would havebeen 30
    years (instead ofthe lifetime m aximum he previously faced under j 841(b)(1)(B)).
    And indeed, w ith a m axim um term of 30 years rather than life, his Guideline

    offenselevelunderU .S.S.G.b 481.2 would havebeen a level34 (ratherthan a level
    376),which would in turn have resulted in an advisûz-y Guideline range of168-210
    m onths im prisonm ent, rather than the 324-403 m onth range that applied at the

    prior sentencing. M oreover,with sentencing under j 841@)(1)(C),he would not
    have had any m inim um term of im prisonm ent, and would have had a reduced

    m inim um term ofsupervised release (6yearsratherthan 8).
       5. M r.R ostan w ill not receive a Gw lndfall''by being resentenced w ithin

             the now -reduced statutory and G uldeline ranges; rather, he w ill

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          receive the precise benefit Congress intended for defendants

          sim ilarly-situated to him .
          The governm ent argues that resentencing M r.Rostan w ould be a ''windfall''

    for M r.Rostan ''because the government did nothave the foresight to seek a juz'y
    determ ination thatthe ofense involved ''28 r am s or m ore''ofcrack cocaine.GR at

    9. But that is not a w indfall; it is benest Congress carefully considered and

    specifically authorized for defendants sentenced prior to the Fair Sentencing Act,
    because those sentenced after that Act's recalibration of the statutory penalties,

    w ere receiving precisely such a benelt.W hile the governm ent appears to have a

    policy disagreem ent with the procese Congres: established in the First Step Actfor

    determ ining eligibility for resentencing,that policy disagreem ent is not a basis on

    w hich the Courtcan or should disregard the plain language and intentofCongress.

          Further, the governm ent's prem ise is inaccurate for m ultiple reasons.

    A llowing the courts to resentence defendants like M r. Rostan w hose convictions

    took place before the enactm ent of the Fair Sentencing Act prom otes equity and

    reduces disparities. The Fair Sentencing Actw as enacted precisely because it was
    nearly universally recognized that sentences in crack cocaine cases w ere excessive

    and had a disparate im pacton Al ican-Am erican defendants. Sce Dorsey p.United

    Sfclcs,567U .S.260,268-69 (2012).Defendantssentenced sincethe date ofthe Fair
    Sentencing Act have had the beneât of the am endm ents it m ade to the statutory

    penalties for crack cocaine osenses, that were not afforded to M r. Rostan and

    sim ilarly situated defendants. M r.Rostan'case is therefore a perfect exam ple of

    w hy Congress decided to take a broad approach in defining w hich defendants would

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    be eligible for resentencing under the First Step Act: it prom otes equity, and

    rem ediesinequity.
          Granting M r.Rostan'm otion to im pose a reduced sentence is thus entirely

    consistent with both the letter ofthe FirstStep Act and its intent ofafording relief

    to defendants w ho w ère leftserving excessive sentences after the enactm ent of the

    Fair Step A ctand his m otion should be r anted.

          N otably,since being arrested in this case on Decem ber 23,1996,M r.Rostan

    hasserved over 18 years (approxim ately 221 months)in custody. He hashad tim e
    to reûecton his pastconduct and dedicate him selfto his ow n rehabilitatiûn so that

    he can besuccessfulin living a law-abiding life upon release. Since j 404 placesno
    restrictions on the factors the court m ay consider in im posing a reduced sentence,

    the Courtmay- and shoGd - considerallrelevant9 3553(a)factors,includingpost-
    offense rehabilitation,in im posing a reduced sentenee that is suo cient,but not

    greater than necessary to serve the purposes of sentencing. See, e,g., Pepper t?.

     United States,562 U .S.476,491-93 (2011). Hispriorhistory doesnotdimiM sh the
    genuine efforts that M r.Rostan has m ade towards rehabilitation and recovery for

    over 18 years.



                                         CO N CLU SIO N
           For a11 of the above reasons, it is respectfully requested that the Court

    im pose a reduced sentence upon M r.Rostan pursuant to Section 404 of the First

     Step A ct,by resentencing him within the now -applicable Guideline range of168-210



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    m onths im prisonm ent,or under the new 851 enhancem ents to a twenty-âve year

    m inilpum m andatory w ere the Courtto ând the 851 enhancem ents stillapply.

                                         Respectfully subm itted,



                                         D avid A .Rostan,Jr.



                             CER TIFICA TE O F SE RW CE
          IHERSBV certiv thaton, a 1h 119,Iherebycertifythatacopyofthe
    foregoingwasmailedthis2 9 dayof    2019 to interested'
                                                 ,       parties.

                                                     *
                                             .



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